Case 1:18-cv-06802-AKH Document 23-1 Filed 10/16/18 Page 1 of 22

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

BEVERLY J. EZRA, an individual Case No.: 1:18 - cv - 06802 - AKH

Plaintiff, MEMORANDUM OF LAW IN
SUPPORT OF DEFENDANT WEITZ
VS & LUXENBERG, P.C.’S MOTION

` FOR JUDGMENT ON THE

PLEADINGS PURSUANT TO
WEITZ & LUXENBERG, P.C., a N€W YOrk FED_ R_ CIV_ PROC_ IZ(C)

Professional Corporation, and DOES and ROES I
through XX,, inclusive

Hon. Alvin K. Hellerstein
Defendants.

 

 

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT WEITZ & LUXENBERG.
P.C.’S MOTION FOR JUDGMENT ON THE PLEADINGS PURSUANT TO

FED. R. CIV. PROC. IZ§C[

_i_

Case 1:18-cv-06802-AKH Document 23-1 Filed 10/16/18 Page 2 of 22

TABLE OF CONTENTS
TABLE OF AUTHORITIES ........................... : ....................................................... ii

MEMORANDUM OF LAW vIN SUPPORT OF DEFENDANT WEITZ &
LUXENBERG, P.C.’S MOTION FOR JUDGMENT ON THE PLEADINGS

PURSUANT TO FED. R. CIV. PROC. 12(C) .............. .................................. 1
I. INTRODUCTION ................................... t ................................................. 1
II. STATEMENTOFRELEVANTFACTS...........................v .............................. 2
III. LEGAL STANDARD ............................................................................... 4
IV. ARGUMENT ......................................................................................... 6
A. PLAINTIFF’S CASE IS UNTIMELY AND BARRED BY THE

APPLICABLE STATUTE OF LIMITATIONS ........................................ 6

l. Plaintiff’s Breach of Contract Claim Must Be Dismissed As
Being Time Barred By The New York Statute of Limitations ............... 8

2. Plaintiff’s Breach Of Implied Covenant Of Good Faith And
Fair Dealing Claim Must Be Dismissed As Being Time Barred

By The New York Statute of Limitations ........................................ 8
3. Plaintiff’s Fraud Claim Must Be Dismissed As Being Time

Barred By The New York Statute of Limitations ............................... 9
4. Plaintist lntentional Infliction of Emotional Distress Claim

Must Be Dismissed As Being Time Barred By The New York

Statute of Limitations ............................................................. 10
5. Plaintiff’s Prior Separate Nevada Lawsuit Does Not Toll The

Applicable Statute of Limitations ................................................ 9

B. PLAINTIFF HAS FAILED TO SEEK TO CORRECT THE DISMISSAL
ORDER AND/OR BRING A PRODUCT LIABILITY ACTION AGAINST
THE PRODUCT DEFENDANTS UNDER THE TERMS OF TERMS OF
THE TOLLING AGREEMENT ......................................................... 12

l. Plaintiff’s Amended Complaint Should Be Dismissed As Plaintiff
Has Failed and/or Refused to File a Product Liability Action
Against Bristol-Myers Squibb Company and Medical
Engineering Corporation .......................................................... 12

2. Plaintiff’s Arnended Complaint Should Be Dismissed As
Plaintiff Has Failed To Seek To Correct the Clerical Error
in the Dismissal Order ............................................................ 14

V. CONCLUSION ...................................................................................... 16

_ii_

Case 1:18-cv-06802-AKH Document 23-1 Filed 10/16/18 Page 3 of 22

TABLE OF AUTHORITIES
CASES

ABB Ina'us. Sys., Inc. v. Prz'me Tech., Inc.,
120 F.3d 351 (2d Cir.1997) ....................................................................... 8, 9

Abbott Labs. v. Gardner,
387 U.S. 136 (1967) ................................................................................ 13

Aetna Lz`fe Ins. Co. v. Haworth, 300 U.S. 227, 240-41, reh'g denied,
300 U.S. 227 (1937) ............................................................................ 12-13

Agro Dutch lna'us. *410 Lta'. v. Um'ted States,
589 F.3d 1187 (Fed.Cir.2009) ...................................................................... 14

Bell Atl. Corp. v. Twombly,
550 U.S. 544 (2007) ................................................................................... 4

Bender v. Williamsport Area School Dist.,
475 U.S. 534 (1986) ................................................................................. 13

Biro v. Cona’e Nast,
963 F. Supp. 2d 255 (S.D.N.Y. 2013) ............................................................. 9

Bohmer v. New York,
684 F.Supp.2d 357 (S.D.N.Y. 2010) .............................................................. 5

Burns Int’l Sec. Servs., Inc. v. Int’l Unz`on, Um`tea' Plant Guard Workers of Am.,
47 F.3d 14 (2d Cir. 1994) ........................................................................... 4

Carbon Capital Mgmt., LLC v. Am. Express Co.,
88 A.D.3d 933 (2d Dep't 2011) ..................................................................... 9

Ely-Cruikshank Co. v. Bank OfMontreal,
81 N.Y.2d 399 (1993) ............................................................................. 8, 9

F ederal Electz`on Comm'n v. Central Long Islana' Tax Reform Immea'iately Comm.,
616 F.2d 45 (2d Cir.1980) .......................................................................... 13

Floyd v. City ofNew York,
2018 WL 4360773 (S.D.N.Y. 2018). ........................................................... 5-6

Forest Park Pictures v. Um'versal Television Network, Inc.,
683 F.3d 424 (2d Cir. 2012) ........................................................................ 6

-iii-

Case 1:18-cv-06802-AKH Document 23-1 Filed 10/16/18 Page 4 of 22

Haya'en v. Paterson,
594 F.3d 150 (2d Cir. 2010) ........................................................................ 4

Harrison v. Lutheran Med. Ctr., .
468 Fed. Appx. 33 (2d Cir. 2012) ................................................................ ll

Holmes v. Airline Pilots Ass ’n, Intern., »
745 F. Supp.2d 176 (E.D.N'.Y. 2010) ............................................................. 5

In re Marc Rich & Co. A.G.,
739 F.2d 834 (2d Cir.1984) ........................................................................ 14

Klaxon Co. v. Stentor Elec. Mfg. Co., ~
313 U.S. 487 (1941) ................................................................................. 6

Kramer v. T ime Warner Inc.,
937 F.2d 767 (2d Cir. 1991) ........................................................................ 5

L-7Designs, lnc. v. Ola' Navy, LLC,
647 F.3d 419 (2d Cir. 2011) ........................................................................ 5

Livelntent, Inc. v. Naples,
293 F. Supp. 3d 433 (S.D.N.Y. 2018) .......................................................... 5, 6

Marbury v. Maa'ison,
5 U.S. 137 (1803) ................................................................................... 13

Mariani v. Consol. Edison Co. of New York,
982 F. Supp. 267 (S.D.N.Y. 1997),
ajj"a' sub nom. Mariani v. Consol. Edison Co.,
172 F.3d 38 (2d Cir. 1998) ........................................................................ 10

Maryland Casualty Co. v. Pacijic Coal & Oil Co.,
312 U.S. 270 (1941) ................................................................................ 12

Mattel, Inc. v. Robarb ’s, Inc.,
139 F. Supp. 2d 487 (S.D.N.Y. 2001) ............................................................ 4

Passucci v. Home Depot, Inc.,
67 A.D.3d 1470 (4th Dep’t 2009) ................................................................. 10

Renne v. Geary,
501 U.S.312 (1991) ................................................................................ 13

Resnick v. Resm`ck,
722 F.Supp. 27 (S.D.N.Y.l989) ................................................................... 8

-iv_

Case 1:18-cv-06802-AKH Document 23-1 Filed 10/16/18 Page 5 of 22

Sellers v. MC. Floor Crafters, lnc.,

842 F.2d 639 (2d Cir. 1988) ........................................................................ 4
Stuart v. Am. Cyanamid Co. ,

158 F.3d 622 (2d Cir. 1998) ......................................................................... 6
Thea v. Kleinhandler,

807 F.3d 492 (2d Cir. 2015) ...................................................................... 6, 7

Truskoski v. ESPN, Inc.,

60 F.3d 74 (2d Cir.1995) ........................................................................... 14
V.E.C. Corp. of Delaware v. Hz`llz`ard,

896 F.Supp.2d 253 (S.D.N.Y. 2012) ............................................................. 8
Yin Kuang v. Genzyme Genetics Corp.,

2012 WL 414280 (S.D.N.Y. 2012) ............................................................... 6

STATUTES
28 U.S.C. § 1367(d) .......................................................................................... 12
N.Y. C.P.L.R. § 202 .......................................................................................... 6-7
N.Y. C.P.L.R. § 205 .......................................................................................... 11
N.Y. C.P.L.R. § 213 (2) ...................................................................................... 8
N.Y. C.P.L.R. § 213 (8) ...................................................................................... 9
N.Y. C.P.L.R. § 215(3)) ................................................................................. 6, 10
MILS

Fed. R. Civ. Pro. 12(b)(6) ................................................................................. 2, 5
Fed. R. Civ. Pro. 12(0) ............................................................................ 1, 2, 4, 5, 6
Fed. R. Civ. Pro. 60(a) ............ l ............................................................... 1, 14, 15

-V-

Case 1:18-cv-06802-AKH Document 23-1 Filed 10/16/18 Page 6 of 22

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT WEITZ & LUXENBERG,
P.C.’S MOTION FOR JUDGMENT ON THE PLEADINGS PURSUANT TO

W
I. INTRODUCTION

Plaintist case is‘all about a dismissal order that was entered over 18 years ago. In
Plaintiff"s Amended Complaint, she alleged to have discovered this alleged wrong in October of
2015, which is over two years prior to Plaintiff filing this instant action. Therefore, all of Plaintiff’ s
causes of action for breach of contract, breach of the implied covenant of good faith and fair
dealing, fraud, and intentional infliction of emotional distress are all clearly time barred by the
applicable New York statute of limitations

Further, this dismissal order was not signed by anyone at Weitz & Luxenberg, P.C. It was
also not signed by the presiding judge, the Honorable Judge Weinstein. Instead, it was only signed
counsel for Bristol-Myers Squibb and Medical Engineering. Plaintiff has failed to seek to correct
this obvious clerical error to have the dismissal order confirm with the agreed upon terms in the
Tolling Agreement via an appropriate motion such as a Rule 60(a) Motion. Likewise, Plaintiff has
failed and/or refused to file a product liability action against Bristol-Myers Squibb Company and
Medical Engineering Corporatiori under the terms of the Tolling Agreement.

When the basis for adjudication of a claim is an affirmative defense, the proper method
for dismissal is a Rule 12(c) motion for judgment on the pleadings Rule 12(c) provides that “[a] fter
the pleadings are closed but within such time as not to delay the trial, any party may move for
judgment on the pleadings.” See Fed. R. Civ. Pro. 12(c). Pleadings become closed once the
defendant files an answer. Here, Plaintiff was already provided an opportunity to amend the
complaint and defendant Weitz & Luxenberg, P.C. filed an answer to Plaintiff’s Amended

Complaint. Thus, the pleadings are closed. Just like a 12(b)(6) motion, a Rule 12(c) motion also

_1_

Case 1:18-cv-06802-AKH Document 23-1 Filed 10/16/18 Page 7 of 22

challenges the legal sufficiency of the opposing party’s pleadings ln other words, a 12(c) motions
ask the district court to look at the pleadings to determine whether the adversary has a legally
cognizable claim. Here, Plaintiff does not have a timely made claim as all of her causes of action
are barred by the applicable New York statute of limitations as well as Plaintiff s failure to state a

claim, as she does not have an actual injury.

II. STATEMENT OF RELEVANT FACTS

1. In 1998, Defendant Weitz & Luxenberg, P.C. represented Plaintiff in a product
liability action against Bristol Myers Squibb Company and Medical Engineering Corporation. (See
Amended Complaint, ECF Doc. 21, 3:7-9).

2. On January 26, 2000, in the prior product liability action, Plaintiff entered into a
Tolling Agreement with Bristol Myers Squibb Company and Medical Engineering Corporation,
that Defendant Weitz & Luxenberg, P.C. negotiated on Plaintiff’s behalf. (See the Tolling
Agreement, attached to the Amended Complaint as Plaintiff’s EX. A to the Declaration of Alan
Levin, dated September 21, 2018).

3. On August 31, 2000, Plaintiff s prior case against Bristol-Myers Squibb Company
and Medical Engineering Corporation was dismissed with prejudice, which is Plaintiffs claim of
the alleged wrongful conduct. This dismissal order was not signed by Weitz & Luxenberg, P.C.
nor by the presiding judge. Instead, it was only signed counsel for Bristol-Myers Squibb and
Medical Engineering (See the Dismissal Order, attached to the Amended Complaint as Plaintift’s
Ex. D to the Declaration of Alan Levin, dated September 21, 2018).

4. On October 1, 2015, Plaintiff’s Counsel claims to have discovered the alleged

wrongful conduct. “That on or about October 1, 2015, the undersigned reviewed the Court Docket

Case 1:18-cv-06802-AKH» Document 23-1 Filed 10/16/18 Page 8 of 22

through Pacer and discovered that EZRA’s case had been dismissed with prejudice. . .” (See
Amended Complaint, ECF Doc. 21, 4:15-16).

5. On October 26, 2015, Plaintiff alleges to have been informed by her counsel of the
alleged wrongful conduct. “EZRA first became aware that her case had been dismissed with
prejudice on October 26, 2015 when her undersigned attorney informed her of this confirmed fact.”
(See Amended Complaint, ECF Doc. 21, 7:19-20).

6. On March 6, 2016, Plaintiff filed suit against Defendant Weitz & Luxenberg, P.C.
in the United States District Court, District of Nevada. (See Amended Complaint, ECF Doc. 21,
5:2-3).

7. On July 2, 2018, the United States District Court, District of Nevada Court
dismissed Defendant Weitz & Luxenberg, P.C. from the prior separate Nevada suit for lack of
personal jurisdiction (See Amended Complaint, ECF Doc. 21, 6: 2-3).

8. On July 28, 2018, Plaintiff filed this new lawsuit in the United States District
Court, Southern District of New York alleging four causes of action (breach of contract, breach of
the implied covenant of good faith and fair dealing, fraud, and intentional infliction of emotional
distress). (See Complaint, ECF Doc. 1).

9. On September 21, 2018, Plaintiff filed an amended complaint, alleging the same
four cause of actions (See Amended Complaint, ECF Doc. 21).

10. On October 12, 2018, Defendant Weitz & Luxenberg, P.C. filed its Answer to
Plaintiffs Amended Complaint, which included numerous affirmative defenses, including, but not
limited to: statute of limitations, laches, waiver, estoppel, and failure to mitigate damages ripeness,
lack of privity, and lack of consideration for breach of contract, collateral estoppel, res judicata,

Plaintiff s damages resulted from acts by third parties, failure to state a claim, duplicative cause of

Case 1:18-cv-06802-AKH Document 23-1 Filed 10/16/18 Page 9 of 22

actions, and Plaintiffs fraud claims not pled with particularity. (See Defendant Weitz &
Luxenberg, P.C.’s Answer to Plaintiffs Amended Complaint, ECF Doc. 22, 30-52).

11. At no time has Plaintiff ever brought an action against Bristol-Myers Squibb
Company and Medical Engineering Corporation to reinstate her underlying product liability case

pursuant to the Tolling Agreement or sought to correct the dismissal order.

III. LEGAL STANDARD

Rule 12 exists to weed out unsound complaints before parties engage in expensive
discovery. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 559 (2007). The Federal Rules of Civil
Procedure permit a party to move for judgment on the pleadings any time after the pleadings are
closed. Fed. R. Civ. P. 12(c). Rule 12(c) states “After the pleadings are closed-but early enough
not to delay trial-a party may move for judgment on the pleadings.” Fed. R. Civ. P. 12(c). Under
Rule 12(c), the Court should dismiss an action “where material facts are undisputed and where a
judgment on the merits is possible merely by considering the contents of the pleadings.” Mattel,
lnc. v. Robarb ’s, lnc., 139 F. Supp. 2d 487, 496 (S.D.N.Y. 2001), See also Sellers v. M.C. Floor
Crafters, Inc., 842 F.2d 639, 642 (2d Cir. 1988)’. A court should dispose of the claims on the
pleadings “if, from the pleadings, the moving party is entitled to judgment as a matter of law.”
Burns lnt’l Sec. Servs., Inc. v. Int’l Union, United Plant Guard Workers of Am., 47 F.3d 14, 16 (2d
Cir. 1994).

A motion for judgment on the pleadings under Rule 12(c) is decided under the same
standard as a motion to dismiss under Rule 12(b)(6). See Hayden v. Paterson, 594 F.3d 150, 160
(2d Cir. 2010). However, “[t]he standard applicable to documents a court may consider in ruling

on a motion for judgment on the pleadings under Rule 12(c) is slightly broader [than a 12(b)(6)

Case 1:18-Cv-06802-AKH Document 23-1 Filed 10/16/18 Page 10 of 22

motion], allowing consideration not only of the nonmoving party's pleading, but also that of the
moving party. On a 12(c) motion, the court considers the complaint, the answer, any written
documents attached to them, and any matter of which the court can take judicial notice for the
factual background of the case. Livelm‘ent, Inc. v. Naples, 293 F. Supp. 3d 433, 441 (S.D.N.Y.
2018) (citations omitted). See also L-7 Designs, lnc. v. Ola' Navy, LLC, 647 F.3d 419, 422 (2d Cir.
2011). “[C]ourts routinely take judicial notice of documents filed in other courts, again not for the
truth of the matters asserted in the other litigation, but rather to establish the fact of such litigation
and related filings.” Kramer v. T ime Warner Inc., 937 F.2d 767, 774 (2d Cir.-1991). “If these
documents contradict the allegations of the amended complaint, the documents control and this
Court need not accept as true the allegations in the amended complaint.” Holmes v. Air Lline
Piplots Ass ’n, Intern., 745 F. Supp.2d 176 (E.D.N.Y. 2010). "[T]he Court may refuse to accept as
true allegations in the Complaint that are contradicted by this record." Bohmer v. New York, 684
F.Supp.2d 357, 360 (S.D.N.Y. 2010).

The statute of limitations provides a basis for a moving party’s Rule 12(c) motion to be
granted, and the Southern District of New York routinely grants dismissal when this affirmative

defense is properly demonstrated 1 The most recent example occurred in Floyd v. City of New

York, 16 Civ. 8655, 2018 WL 4360773 (S.D.N.Y. August 2, 2018). In Floyd, the defendant moved
for judgment on the pleadings pursuant to Rule 12(c) on three grounds, one of which was that the
plaintiffs claim was time-barred by the governing statute of limitations Id. The court held for the

movants, stating that “Because the statute of limitations expired on April 5, 2017, an amendment

 

' Plaintiff filed her Amended Complaint on September 21, 2018. (See Plaintiff’s Amended
Complaint, ECF Doc. 21). Defendant Weitz & Luxenberg, P.C. filed its Answer to Plaintiff s
Amended Complaint, which included numerous affirmative defenses, including that Plaintiff s
claims are barred by the applicable statute of limitations on October 12, 2018. (See Defendant
Weitz & Luxenberg, P.C.’s Answer to Plaintiff’s Amended Complaint, ECF Doc. 22, 30-52).

_5_

Case 1:18-Cv-06802-AKH Document 23-1 Filed 10/16/18 Page 11 of 22

to the pleading is futile as the proposed claim could not withstand a motion to dismiss” Id. at 5.
See also.' Livelntenl, Inc. v. Naples, 293 F. Supp. 3d 433, 447 (S.D.N.Y. 2018) (granting a 12(c)
motion for judgment on the pleadings based on the court determining that the statute of limitations
had expired) and Yz'n Kuang v. Genzyme Genetz'cs Corp., 2012 WL 414280 (S.D.N.Y. 2012)
(granting a 12(c) motion for judgment on the pleadings, based on Plaintiffs failure to timely file

under New York’s one-year statute of limitations for intentional torts, N.Y. C.P.L.R. § 215(3)).

IV. ARGUMENT

A. PLAINTIFF’S CASE IS UNTIMELY AND BARRED BY THE
APPLICABLE STATUTE OF LIMITATIONS

When jurisdiction is based on diversity of citizenship, a federal court must apply the
substantive law, including the choice-of-law rules, of the state where the District Court sits Forest
Park Pz`ctures v. Universal Television Network, Inc., 683 F.3d 424, 433 (2d Cir. 2012); see
also Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941). The substantive law of a state
includes its statutes of limitations Thea v. Klez‘nhandler, 807 F.3d 492, 497-98 (2d Cir. 2015).
“Where jurisdiction rests upon diversity of citizenship, a federal court sitting
in New York must apply the New York choice-of-law rules and statutes of limitations.” Stuart v.
Am. Cyanamz`d Co., 158 F.3d 622, 626 (2d Cir. 1998). Therefore, since this Court sits in New York
it must apply New York state choice of law rules and the New York state statutes of limitations

New York’s borrowing statute, N.Y. C.P.L.R. § 202, provides that “when a nonresident
plaintiff sues upon a cause of action that arose outside of New York, the court must apply the
shorter limitations period, including all relevant tolling provisions, of either: (1) New York; or (2)
the state where the cause of action accrued.” Stuart, 158 F.3d at 627. Plaintiffs claims must be

“timely under the limitation periods of both New York and the jurisdiction where the cause of

Case 1:18-Cv-06802-AKH Document 23-1 Filed 10/16/18 Page 12 of 22

action accrued.” Thea v. Kleinhandler, 807 F.3d 492, 497-98 (2d Cir. 2015). Accordingly, Plaintiff
must show that her claims are not just timely in Nevada (the state where she resides), but also
timely in New York as well. However, Plaintiff cannot meet this burden as her claims are time
barred by the New York statutes of limitation

Plaintiff filed this case on July 28, 2018, (See Plaintiff’ s Complaint, ECF Doc. 1). In her
Amended Complaint, Plaintiff has brought four state law causes of action: (1) breach of contract,
(2) breach of covenant of good faith and fair dealing, (3) misrepresentation, fraud, and deceit, and
(4) intentional infliction of emotional distress (See Plaintiff s Amended Complaint, ECF Doc.
21, 6-12). All four of these state law causes of action are based on a Tolling Agreement signed
on January 26, 2000 and a Dismissal Order that was entered on August 31, 2000. (See Amended
Complaint, ECF 21, 4:16-17). Thus, all of Plaintiffs claims are based on an alleged wrongful
conduct that occurred approximately 18 years before Plaintiff filed this lawsuit. This is outside
of the applicable statutes of limitations for any of Plaintiff s causes of actions Moreover, in the
Amended Complaint, Plaintiff alleges to have discovered this alleged wrongful conduct in
October of 2015, which is more than two years before Plaintiff filed this current lawsuit. (See
Amended Complaint, ECF Doc. 21, 4:15-16 and 7:19-20). Finally, Plaintiff’s prior separate
Nevada lawsuit does not toll the applicable statute of limitations as Plaintiffs prior lawsuit was
based on diversity of citizenship and it was dismissed for lack of personal jurisdiction
Accordingly, each of Plaintiffs causes of action are time barred by the applicable New York

statutes of limitation and therefore must be dismissed

l. Plaintiff’s Breach of Contract Claim Must Be Dismissed As Being
Time Barred By The New York Statute of Limitations

The New York statute of limitations for breach of contract is six years N.Y. C.P.L.R. §
213 (2) (2009). Under New York law, there is no delayed discovery rule for breach of contract

-7_

Case 1:18-Cv-06802-AKH Document 23-1 Filed 10/16/18 Page 13 of 22

claims ABB lndus. Sys., Inc. v. Prime Tech., Inc., 120 F.3d 351, 360 (2d Cir.1997). “[I]t is well
settled that [under New York law] the statute of limitation for breach of contract begins to run from
the day the contract was breached, not from the day the breach was discovered, or should have
been discovered.” Id. ln New York, a breach of contract cause of action accrues at the time of the
breach. Ely-Cruikshank Co. v. Bank of Montreal, 81 N.Y.2d 399, 402 (1993). Thus, breach of
contract claims accruing before July 28, 2012 are time-barred by the New York statute of
limitations

According to the allegations in the Amended Complaint, the alleged breach occurred on
August 31, 2000 when the dismissal order was cntered. (See Amended Complaint, ECF 21, 7: 19-
23). This is approximately 18 years ago, which is well past the 6-year statute of limitations

Therefore, Plaintiff’s breach of contract cause of action is time barred.

2. Plaintiff’s Breach Of Implied Covenant Of Good Faith And Fair Dealing

Claim Must Be Dismissed As Being Time Barred By The New York Statute

of Limitations

“Under New York law, causes of action for breach of contract and breach of the covenant
of good faith and fair dealing are governed by N.Y. C.P.L.R. §213(2), which provides for a six-
year statute of limitations.” See V.E.C. Corp. of Delaware v. Hilliara', 896 F.Supp.2d 253, 259
(S.D.N.Y. 2012). “The claim for breach of the covenant of good faith and fair dealing is grounded
in contract and likewise has a limitations period of six [ ] years” Resm'ck v. Resm`ck, 722 F.Supp.
27, 38 (S.D.N.Y.1989). In New York, a breach of contract cause of action and breach of the implied
covenant of good faith and fair dealing accrues at the time of the breach. Ely-Cruikshank Co., 81
N.Y.2d at 402. Further just like breach of contract claims, there is no delayed discovery rule for
breach of the implied covenant of good faith and fair dealing. Id. at 403. See also ABB Ina’us. Sys.,

Inc., 120 F.3d at 360.

-3_

Case 1:18-Cv-06802-AKH Document 23-1 Filed 10/16/18 Page 14 of 22

According to the allegations in the Amended Complaint, the alleged breach occurred on
August 31, 2000. (See Amended Complaint, ECF 21, 9:2-9). This is approximately 18 years ago.
This is well past the 6-year statute of limitations Therefore, Plaintiff s breach of covenant of good
faith and fair dealing cause of action should be dismissed as untimely pursuant to Rule 12(c) as
the “complaint clearly shows the claim is out of time.” Biro v. Conde Nast, 963 F. Supp. 2d 255,
266 (S.D.N.Y. 2013).

3. Plaintiff’s Fraud Claim Must Be Dismissed As Being Time Barred By The

New York Statute of Limitations

Under New York law, a fraud claim must be commenced within six years of the date the
cause of action accrued, or within two years of the time the plaintiff discovered or could have
discovered the fraud with reasonable diligence, whichever is greater. N.Y. C.P.L.R. § 213 (8);
see Carbon Capz'tal Mgmt., LLC v. Am. Express Co., 88 A.D.3d 933, 939, (2d Dep't2011). A cause
of action for fraud accrues when every element of the claim, can be alleged, not when they are
known. Id.

According to the allegations in the Amended Complaint, the alleged fraudulent conduct
occurred on August 31, 2000 when the dismissal order was entered. (See Amended Complaint,
ECF 21, 10: 19-21). This is over 18 years ago, thus it is many years past the six-year statute.
Further, according to the allegations in the Amended Complaint, Plaintiff discovered this alleged
fraudulent conduct in October of 201 5. (See Amended Complaint, ECF Doc. 21, 4:15-16 and 7:19-
20). According to the allegations in the Amended Complaint, Plaintiff discovered the alleged
fraudulent conduct in October of 2015 and did not file this case until July 28, 2018. This is over
two years before Plaintiff brought this current case. Therefore, Plaintiffs fraud cause of action is

untimely even when applying the delayed discovery provision and is also time barred.

Case 1:18-Cv-06802-AKH Document 23-1 Filed 10/16/18 Page 15 of 22

4. Plaintiff’s Intentional Infliction of Emotional Distress Claim Must Be
Dismissed As Being Time Barred By The New York Statute of Limitations

“It is well established that the one-year statute of limitations set forth in CPLR § 215(3)
for intentional torts is applicable to claims for intentional infliction of emotional distress” Marz`ani
v. Consol. Edison Co. of New York, 982 F. Supp. 267, 273 (S.D.N.Y. 1997), ajj'a’ sub nom. Mariani
v. Consol. Ea'l`son Co., 172 F.3d 38 (2d Cir. 1998). There is no delayed discovery rule for
intentional torts Moreover, a cause of action alleging intentional infliction of emotional distress
accrues on the date of injury. Passuccz' v. Home Depot, Inc., 67 A.D.3d 1470, 1471 (4th Dep’t
2009). Furthermore, when applying the one-year statute of limitations to claims of intentional
infliction of emotional distress “all acts occurring before the limitations period are excluded from
consideration”. Mariani supra, 982 F. Supp. at 275. Therefore, any alleged acts prior to July 28,
2017 are on its face barred by New York’s one-year statute of limitations for intentional infliction
of emotional distress

According to the allegations in the Amended Complaint, the alleged wrongful conduct
occurred on or before August 31, 2000. (See Amended Complaint, ECF Doc. 21, 11:22-12:22).
This is over 18 years ago. Further, according to the allegations in the Amended Complaint,
Plaintiff discovered this alleged intentional conduct in October of 2015 and did not file this case
until July 28, 2018, (See Amended Complaint, ECF Doc. 21, 4:15-16 and 7:19-20). This is over
two years before Plaintiff brought this current case, well past the one-year statute of limitations
Therefore, Plaintiff s intentional infliction of emotional distress cause of action is untimely and
should be dismissed under Rule 12(C) as barred by the statute of limitations

5. Plaintiff’s Prior Separate Nevada Lawsuit Does Not Toll The Applicable
Statute of Limitations

-10_

Case 1:18-Cv-06802-AKH Document 23-1 Filed 10/16/18 Page 16 of 22

Plaintiff s prior separate lawsuit filed in the District of Nevada does not toll the applicable
statutes of limitations New York’s Saving Statute, N.Y. C.P.L.R. § 205, is the governing law
regarding whether a prior separate lawsuit filed in a separate jurisdiction will toll the statute of
limitations In relevant part, N.Y. C.P.L.R. § 205 provides:

If an action is timely commenced and is terminated in any other
manner than by a voluntary discontinuance, a failure to obtain
personal jurisdiction over the defendant, a dismissal of the complaint
for neglect to prosecute the action, or a final judgment upon the merits,
the plaintiff, or, if the plaintiff dies, and the cause of action survives
his or her executor or administrator, may commence a new action
upon the same transaction or occurrence or series of transactions or
occurrences within six months after the termination provided that the
new action would have been timely commenced at the time of
commencement of the prior action and that service upon defendant is
effected within such six-month period.

Thus, the New York legislature has specifically identified which type of dismissals in prior
litigation permit the case to be tolled and which ones do not. The New York legislature has
determined that if a plaintiffs fails to obtain personal jurisdiction over a defendant then the
Plaintiffs prior case does not qualify for tolling the statute of limitations for any later commenced
actions “§ 205(a) does not allow tolling based on a prior suit that was terminated due to a failure
to obtain personal jurisdiction over the defendant.” Harrison v. Lutheran Med. Ctr., 468 Fed.
Appx. 33, 36 (2d Cir. 2012). Because Plaintiff’s prior separate claims in the District of Nevada
were dismissed due to lack of Personal Jurisdiction, N.Y. C.P.L.R. § 205 specifically holds that
the statute of limitations is not to be tolled during the pendency of that litigation. Likewise, the
tolling provision of federal supplemental jurisdiction statute, 28 U.S.C. § l367(d), does not apply
because Plaintiff did not bring any causes of action based on a federal question. Plaintiff only

brought state law claims As such the only inquiry is whether this action filed in the Southern

District of New York was timely commenced when filed on July 28, 2018, As discussed above,

-11-

Case 1:18-Cv-06802-AKH Document 23-1 Filed 10/16/18 Page 17 of 22

Plaintiffs new lawsuit commenced in the Southern District of New York on July 28, 2018 was
untimely.
B. PLAINTIFF HAS FAILED TO SEEK TO CORRECT THE DISMISSAL
ORDER AND/OR BRING A PRODUCT LIABILITY ACTION AGAINST

THE PRODUCT DEFENDANTS UNDER THE TERMS OF TERMS OF
THE TOLLING AGREEMENT

In addition to being time barred by the statute of limitations all of Plaintiff s causes of
action also fail for not being able to plead all of the necessary elements of each cause of action.
Plaintiff has failed to state a claim as she has not pled an actual injury. Plaintiff s damages if any,
are speculative and contingent upon the outcome of other preceding events2

1. Plaintiff’s Amended Complaint Should Be Dismissed As Plaintiff Has Failed

and/or Refused to File a Product Liability Action Against Bristol-Myers

Squibb Company and Medical Engineering Corporation

Article III of the U.S. Constitution limits the jurisdiction of federal courts to “cases or
controversies.” Maryland Casually C0. v. Pacific Coal & Oil Co., 312 U.S. 270, (1941). Every
action before a federal court must be “justiciable,” i.e., one in which jurisdiction under the
Constitution exists and that is “appropriate for judicial determination.”Aetna Life Ins. C0. v.
Haworth, 300 U.S. 227, 240-41, reh’g denied, 300 U.S. 227 (1937) (citations omitted). lt is the

plaintiffs' responsibility to allege facts demonstrating that this is a proper instance to invoke

 

2 On October 12, 2018, Defendant Weitz & Luxenberg, P.C. filed its Answer to Plaintiff’s
Amended Complaint, which included numerous affirmative defenses including laches waiver,
estoppel, ripeness failure to mitigate damages failure to establish an actual injury, regarding
Plaintiff’ s failure to seek to correct the Clerk’s entry of dismissal with prejudice to a dismissal
without prejudice as contemplated by the Tolling Agreement, via an appropriate motion such as
Rule 60(a), as well as Plaintiffs failure and/or refusal to file a product liability action against
Bristol-l\/lyers Squibb Company and Medical Engineering Corporation and/or amend her separate
complaint pending in the Southern District of New York against Bristol-Myers Squibb Company
and Medical Engineering Corporation to include such causes of action despite being provided by
the Court the opportunity to do so. (See Defendant Weitz & Luxenberg, P.C.’s Answer to
Plaintiffs Amended Complaint, ECF Doc. 22, 34-37).

_12-

Case 1:18-Cv-06802-AKH Document 23-1 Filed 10/16/18 Page 18 of 22

judicial resolution of the dispute and the exercise of the court's remedial powers See Bender v.
Williamsport Area School Dist., 475 U.S. 534, 546 fn. 8 (1986). Renne v. Geary, 501 U.S. 312,
316 (1991). F or a case to be deemed justiciable under Article III, it must not be merely an advisory
opinion or regarding abstract disagreements Abbott Labs. v. Gardn`er, 387 U.S. 136, 137 (1967).
There needs to be an actual `injury. Id. There must be a “real, substantial controversy between
parties” involving a “dispute definite and concrete.” Federal Election Comm'n v. Central Long
lsland T ax Reform Immea'iately Comm., 616 F.2d 45, 51 (2d Cir.1980) (citations omitted); see
also Marbury v. Madison, 5 U.S. 137 (1803).

The entire factual predicate for each of Plaintiffs causes of action in her Amended
Complaint is that Plaintiff is barred from bringing her underlying product liability case and this is
simply not true. Plaintiff has failed and/or refused to file a product liability action against Bristol-
Myers Squibb Company and Medical Engineering Corporation and/or amend her separate
complaint pending in the Southern District of New York against Bristol-Myers Squibb Company
and Medical Engineering Corporation to include such an action despite being provided by the
Court the opportunity to do so.

Bristol-Myers Squibb Company and Medical Engineering Corporation must contractually
honor the “Dismissal Without Prejudice” and to “toll any applicable statutes of limitations for
actions regarding breast implants from the date of the above-referenced dismissal of this action to
a date two years after the death” that was specifically agreed to in the Tolling Agreement. Plaintiff
is just assuming that the Tolling Agreement would not apply and control under these
circumstances Therefore, Plaintiff cannot prove that an injury exists Plaintiff’s alleged injury is
not consistent with the constitutional requirements because her claimed injury is not yet actual and

concrete. The Tolling Agreement is still enforceable, making vPlaintiff’s claimed injury speculative

-13_

Case 1:18-Cv-06802-AKH Document 23-1 Filed 10/16/18 Page 19 of 22

at best. Without first bringing her product liability case, Plaintiff cannot prove an injury in this
case. Because the product liability defendants must contractually honor the “Dismissal Without
Prejudice” that was specifically negotiated and entered into in the Tolling Agreement, it obviates
the need for this action, as her underlying product liability case is still viable.
2. Plaintiff’s Amended Complaint Should Be Dismissed As Plaintiff Has Failed
To Seek To Correct the Clerical Error in the Dismissal Order
This whole matter could be quickly and easily resolved if Plaintiff brought a motion to
correct the clerical error in the docket under Federal rules of Civil Procedure Rule 60(a). In relevant
part Rule 60(a) states: “The court may correct a clerical mistake or a mistake arising from oversight
or omission whenever one is found in a judgment, order, or other part of the record. The court may
do so on motion or on its own, with or without notice.” Notably, Rule 60(a) “imposes no time
limitations.” Truskoskl` v. ESPN, Inc., 60 F.3d 74, 77 (2d Cir.l995). Rule 60(a) “permits the
correction not only of clerical mistakes but also of inadvertent errors arising from oversight or
omission.” In re Marc Rz`ch & C0, A.G., 739 F.2d 834, 836 (2d Cir.1984). The Federal Circuit has
stated: “Courts enjoy broad discretion to correct clerical errors in previously issued orders in order
to conform the record to the intentions of the court and the parties” Agro Dutch Ina’us. 410 Lta'. v.
United States, 589 F.3d 1187, 1192 (Fed. Cir. 2009). As a court may correct clerical mistakes at
any time, Plaintiff could and still can bring a Rule 60(a) motion at any time. Plaintiff has never
done this to date.
Here, Plaintiff has failed and/or refused to seek to correct the Clerk’s entry of dismissal
with prejudice to a dismissal without prejudice as contemplated by the Tolling Agreement, via an
appropriate motion. The original dismissal with prejudice was just a clerical error. On the dismissal

order, the signature line for the attorney from Weitz & Luxenberg, P.C. and the signature line for

_14_

Case 1:18-Cv-06802-AKH Document 23-1 Filed 10/16/18 Page 20 of 22

the Judge Presiding are blank. Weitz & Luxenberg, P.C. did not sign or agree to dismissal order
or enter into a dismissal with prejudice on Plaintiffs behalf and the judge never signed the
dismissal order. This clearly was a clerical mistake where the clerks mistakenly entered an
incomplete unsigned order and mistakenly marked Plaintiff s case as “dismissed with prejudice”
on the docket of the Eastem District of New York. Bristol-Myers Squibb Company and Medical
Engineering Corporation agreed to a “dismissal without prejudice” and to “toll any applicable
statutes of limitations for actions regarding breast implants from the date of the above-referenced
dismissal of this action to a date two years after the death.” Bristol-Myers Squibb Company and
Medical Engineering Corporation would be estopped if they tried to take advantage of a clerical
mistake, especially one that appears to be submitted by them. Because Bristol-Myers Squibb
Company and Medical Engineering Corporation must contractually honor the “Dismissal Without
Prejudice” that was negotiated and entered into in the Tolling Agreement, and because Weitz &
Luxenberg, P.C. and the presiding judge never signed the Dismissal Order, the Honorable Judge
Weinstein can issue a F.R.C.P. Rule 60(a) Order correcting this clerical mistake. The court may
do so on motion or on its own, with or without notice. See F.R.C.P. 60(a). Therefore, Plaintiff
could have easily resolved this case, but has failed to do so.
vCONCLUSION
Weitz & Luxenberg, P.C. respectfully moves this Court for a judgment on the Pleadings
regarding Plaintiffs Amended Complaint against Weitz & Luxenberg, P.C. pursuant to Federal
Rule of Civil Procedure 12(c), because each of Plaintiff’s claims are time barred by the applicable
New York statutes of limitations because the alleged wrongful conduct occurred almost 18 years
ago and Plaintiff alleges to have discovered it over two years before commencing this litigation.

Additionally, Plaintiff s Amended Complaint should be dismissed because of Plaintiff s

-15-

Case 1:18-Cv-06802-AKH Document 23-1 Filed 10/16/18 Page 21 of 22

CERTIFICATE OF SERVICE
I hereby certify that on October 16, 2018, I electronically filed the foregoing
MEMORANDUM OF LAW fN SUPPORT OF DEFENDANT WEITZ & LUXENBERG, P.C.’S
MOTION ON THE PLEADINGS PURSUANT TO FED. R. CIV. PROC. 12 (c) with the clerk of
the court using the CM/ECF system, which will send notification of such filing to the e-mail
addresses denoted on the electronic Mail Notice List. 1 certify under penalty of perjury under the

laws of the United States of America that the foregoing is true and correct.

Dated: October 16, 2018 THE PENNOCK LAW FIRM

_7
Byi /%//M/MA.. 1/‘5/7€/7/!.¢¢££,
sli@;uécm M. Pennock (sBN; 5029434)
PENNOCK LAW FIRM
411 Lafayette St., Fl. 6
New York, NY 10003-7035
Phone: (212) 967 _ 4213
Email: ShannonPennock@Pennocklaw'firm.com

Attorney for Defendant
WEITZ & LUXENBERG, P.C.

_17_

Case 1:18-Cv-06802-AKH Document 23-1 Filed 10/16/18 Page 22 of 22

failure to seek to correct the Clerk’s entry of dismissal with prejudice to a dismissal without
prejudice as contemplated by the Tolling Agreement, via an appropriate motion such as Rule 60(a)
Motion as well as Plaintiffs failure and/or refusal to file a product liability action against Bristol-
Myers Squibb Company and Medical Engineering Corporation under the terms of the Tolling
Agreement. Plaintiffs failures to do so have caused Plaintiff to fail to establish an actual injury.
Weitz & Luxenberg, P.C. respectfully submits that its motion for judgment on the

pleadings is dispositive on all issues

Dated: October 16, 2018 THE PENNOCK LAW FIRM

' 'W jw
_/,sha£non M. Pennock (sBN: 5029434)

THE PENNOCK LAW FIRM

411 Lafayette St., Fl. 6

New York, NY 10003-7035

Phone: (212) 967 - 4213

Email: ShannonPennock@Pennocklawfirm.com

 

 

Robert J. Drakulich, Esq. (PHV Applicant)
THE DRAKULICH FIRM, APLC

2727 Carnino Del Rio South, Suite 322
San Diego, California 92108

Phone: (858) 755-5887

Email: r]'d@draklaw.com

Attorneys for Defendant
WEITZ & LUXENBERG, P.C.

_16_

